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  From:            For OS announcements to all of HHS on behalf of HHS News Do Not Reply (OS/ASPA)
  To:              HHS-NEWS-ALL@LIST.NIH.GOV
  Subject:         Notice of Temporary Restraining Order (TRO) in Colorado v. HHS
  Date:            Monday, April 7, 2025 3:30:31 PM
  Attachments:     Notice of Temporary Restraining Order (TRO) in Colorado v. HHS_R.pdf



  HHS Employees: Please review the attached Temporary Restraining Order (TRO) in Colorado v.
  HHS. As provided in the TRO, the order and terminations directly impacted by the TRO are
  those of the Plaintiff States only. If you have questions, please reach out to Kenya Ford in the
  Office of the General Counsel, kdf6@cdc.gov. Thank you.

  Notice of Temporary Restraining Order in Colorado v. HHS.



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                      UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF RHODE ISLAND

                                        )
 STATE OF COLORADO; STATE OF            )
 RHODE ISLAND; STATE OF                 )
 CALIFORNIA; STATE OF                   )
 MINNESOTA; STATE OF                    )
 WASHINGTON; STATE OF                   )
 ARIZONA; STATE OF                      )
 CONNECTICUT; STATE OF                  )
 DELAWARE; THE DISTRICT OF              )
 COLUMBIA; STATE OF HAWAI’I;            )
 STATE OF ILLINOIS; OFFICE OF           )
 THE GOVERNOR EX REL. ANDY              )
 BESHEAR, in his official capacity as   )
 Governor of the Commonwealth of        )
 Kentucky; STATE OF MAINE; STATE        )
 OF MARYLAND; COMMONWEALTH              )
 OF MASSACHUSETTS; STATE OF             )
 MICHIGAN; STATE OF NEVADA;             )
 STATE OF NEW JERSEY; STATE OF          )
 NEW MEXICO; STATE OF NEW               )
                                            C.A. No. 1:25-cv-00121-MSM-LDA
 YORK; STATE OF NORTH                   )
 CAROLINA; STATE OF OREGON;             )
 STATE OF WISCONSIN; JOSH               )
 SHAPIRO, in his official capacity as   )
 Governor of the Commonwealth of        )
 Pennsylvania,                          )
                                        )
      Plaintiffs,                       )
                                        )
      v.                                )
                                        )
 U.S. DEPARTMENT OF HEALTH              )
 AND HUMAN SERVICES; ROBERT             )
 F. KENNEDY, JR., in his official       )
 capacity as Secretary of the U.S.      )
 Department of Health and Human         )
 Services,                              )
                                        )
      Defendants.                       )
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                         TEMPORARY RESTRAINING ORDER

 Mary S. McElroy, United States District Judge.

          This matter came before the Court on the Plaintiff States’ Motion for a

 Temporary Restraining Order (“TRO”) (ECF No. 4). The States ask the Court to

 temporarily restrain the U.S. Department of Health and Human Services (“HHS”)

 from immediately and summarily terminating $11 billion in public health grants

 appropriated by Congress to fund various public health programs. These programs

 include tracking infectious diseases, ensuring access to immunizations, fortifying

 emergency preparedness, providing mental health and substances abuse services,

 and modernizing critical public health infrastructure.

          During a hearing held on April 3, 2025, the Court heard from attorneys

 representing the States and HHS. 1 At the hearing’s conclusion, the Court GRANTED

 the States’ Motion for a TRO (ECF No. 4). Below, the Court explains its reasoning

 and details the TRO’s scope.

          “The basic four-factor legal standard for a TRO mirrors that for a preliminary

 injunction.” Schnitzer Steel Indus. v. Dingman, 639 F. Supp. 3d 222, 226 (D.R.I.

 2022).     “As with a preliminary injunction, the movant must demonstrate that

 weighing the following four factors favors the granting of a TRO: (1) likelihood of

 success on the merits; (2) potential for irreparable injury; (3) balance of the relevant

 equities; (4) effect on the public interest if the TRO is granted or denied.” Id. A



 1 HHS’ attorney appeared and objected to the issuance of a TRO but did not make

 substantive arguments because the record involved several thousand pages and she
 had not yet had the opportunity to review the filings.


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 “district court is required only to make an estimation of likelihood of success and ‘need

 not predict the eventual outcome on the merits with absolute assurance.’”             Id.

 (quoting Corp. Techs., Inc. v. Harnett, 731 F.3d 6, 10 (1st Cir. 2013)). The Court is

 also fully aware of both its limited role and the limited role that TROs play in civil

 practice.   “The order is designed to preserve the status quo until there is an

 opportunity to hold a hearing on the application for a preliminary injunction.”

 4 Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2951 (3d

 ed.).

                              Likelihood of Success on the Merits

         The analysis begins with the weightiest of the four factors: the likelihood of

 success on the merits. According to the States, the only basis that the HHS provided

 for its decision to terminate $11 billion in public health funding was that the funding

 was appropriated through one or more COVID-19 related laws. The notices given to

 the states indicate that HHS terminated the funding because, in HHS’ view, it was

 no longer necessary after the end of the COVID-19 pandemic. (ECF No. 1 ¶ 2). The

 States argue that HHS unilaterally terminated these grants without following the

 required procedures set forth by law.          They bring three claims under the

 Administrative Procedure Act (“APA”).

         Count I: SAMHSA Termination Notices

         The States first argue that HHS terminated grants to their agencies’

 Substance Abuse and Mental Health Services Administration (“SAMHSA”) programs

 without following the procedure set forth by Congress in 42 U.S.C. § 300x-55(a)-(e).




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 Section 300x-55(a) provides that the Secretary of HHS may “terminate the grant for

 cause” only “if [he] determines that a State has materially failed to comply with the

 agreements or other conditions required for the receipt of a grant.” And under § 300x-

 55(e), HHS must provide “adequate notice and an opportunity for a hearing” before

 taking any action against a state’s funding. The States also direct the Court to

 § 300x-55(g), which bars HHS from withholding any funds unless it has first

 investigated whether the State has expended payments under the program involved.

       The States argue that the SAMSHA terminations—executed without any

 notice and without explanation of the States’ “material failure to comply” with the

 agreements and other necessary conditions—violated § 300-55(a) and § 300-55(e).

 The States further contend that these termination notices were issued without the

 opportunity for a hearing and an investigation as required by § 300x-55(g).

       On this record, the Court agrees. These statutes show that, to terminate

 SAMSHA funding, HHS must do far more than what it did here: simply terminating

 the funding “for cause” due to the end of the pandemic. See, e.g., ECF No. 4-41,

 Kirschbaum Decl. ¶ 42 (explaining that “HHS SAMHSA has never provided HCA

 with notice, written or otherwise, that the grant administered by HCA was in any

 way unsatisfactory”); ECF No. 4-41 at 54, Kirschbaum Decl., Attach. D (“The end of

 the pandemic provides cause to terminate COVID-related grants and cooperative

 agreements.”). The States thus have shown a strong likelihood of success that HHS’

 sudden termination of SAMHSA grants was contrary to law in violation of 5 U.S.C.

 § 706(2).




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       Count II: CDC Termination Notices

       The States further claim that HHS suddenly terminated grants related to the

 Center for Disease Control and Prevention’s (“CDC”) agreements with state and local

 health departments to detect, prevent, and respond to infectious disease outbreaks.

 These terminations, like the SAMSHA terminations, occurred without any notice or

 an opportunity for a hearing. The States primarily argue that this termination

 violates HHS’ own regulations, which permit the termination of grants only “for

 cause” or a failure to comply with the grant agreements. 2 And the States convincingly

 argue that HHS has previously only interpreted its “for cause” termination power to

 be like a “failure to comply with the terms of the grant agreements” termination. The

 States contend that HHS erred in expanding its interpretation of “for cause” to

 include the end of the pandemic.

       On this record, the Court agrees. The Court struggles to see how, based on

 HHS’ past interpretation of “for cause,” the end of the pandemic qualifies. So again,

 the States have demonstrated a strong likelihood of successfully showing that HHS’

 sudden termination of CDC grants was contrary to law—in particular, its own

 regulations—in violation of 5 U.S.C. § 706(2).



 2 HHS has construed “for cause” to mean that a grantee has materially failed to

 comply with the grant. Child Care Ass’n of Wichita/Sedgwick Cnty., DAB No. 308
 (1982), 1982 WL 189587, at 2 (HHS June 8, 1982) (“‘For cause means a grantee has
 materially failed to comply with the terms of the grant.”). And HHS has
 acknowledged that “for cause” is not substantially different from “failure to comply”
 and its own regulations are being amended to reflect exactly that fact. See HHS,
 Health and Human Services Adoption of the Uniform Administrative Requirements,
 Cost Principles, and Audit Requirements for Federal Awards, 89 Fed. Reg. 80055,
 80055 (Oct. 2, 2024) (effective October 2025).


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       Count III: Other Public Health Termination Notices

       Finally, the States allege that HHS’ mass termination of other grants and

 cooperative agreements was “arbitrary and capricious” in violation of the APA. The

 States claim that HHS improperly decided—despite clear statutory language to the

 contrary—that all pandemic-era public health appropriations were COVID-19-

 related and thus only intended for use during the pandemic. HHS, they continue,

 failed to make individualized assessments of grants or agreements, ignored the

 States’ reliance interests on congressionally appropriated money, failed to explain its

 sudden change in position, and misapplied the “for cause” termination provision.

 (ECF No. 1 ¶ 122).

       An agency action is arbitrary and capricious where it is not “reasonable and

 reasonably explained.” FCC v. Prometheus Radio Project, 592 U.S. 414, 423 (2021).

 An agency must provide “a satisfactory explanation for its action[,] including a

 rational connection between the facts found and the choice made.” Motor Vehicle

 Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins., 463 U.S. 29, 43 (1983).

 On the record before the Court at the April 3, 2025, hearing, the States made a strong

 showing that the sudden, blanket termination of $11 billion—likely based on

 misinterpretations of federal law—was neither reasonable nor reasonably explained.

       For starters, the mass termination of funding was likely not substantively

 reasonable. Multicultural Media, Telecom & Internet Council v. Fed. Commc’ns

 Comm'n, 873 F.3d 932, 936 (D.C. Cir. 2017) (Kavanaugh, J.) (“A substantive

 unreasonableness claim ordinarily is an argument that, given the facts, the agency




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 exercised its discretion unreasonably.”) As the States explain, Congress had already

 rescinded plenty of COVID-era public health spending in 2023. (ECF No. 4 at 10.)

 But “Congress chose not to rescind the funding for the grants and cooperatives

 agreements at issue in this case.” Id.

       It is well-established that in the interpretation of statutes, the express mention

 of one thing is the exclusion of others. See, e.g., N.L.R.B. v. SW Gen., Inc., 580 U.S.

 288, 302 (2017) (“If a sign at the entrance to a zoo says ‘come see the elephant, lion,

 hippo, and giraffe,’ and a temporary sign is added saying ‘the giraffe is sick,’ you

 would reasonably assume that the others are in good health.”) So Congress’s decision

 to eliminate some COVID-era public health measures but leave alone the funding at

 issue here presumably signals its intent to continue that funding. See id. With that

 in mind, the Court struggles to see how HHS, an agent of the Executive, can exercise

 discretion to eliminate ten billion dollars’ worth of it summarily.      See Biden v.

 Nebraska, 600 U.S. 477, 514 (2023) (Barrett, J., concurring) (explaining that Supreme

 Court precedent requires that Congress must “speak clearly” if “it wishes to assign to

 an agency decisions of vast economic and political significance” (cleaned up)).

       Nor does it seem that the mass terminations were reasonably explained. The

 Court struggles to see the requisite “rational connection between the facts found and

 the choice made.” State Farm, 463 U.S. at 43. And the impact on the States of HHS’

 sudden termination of billions of dollars in congressionally appropriated funds is

 substantial.   “When an agency changes course,” it needs to “be cognizant that

 longstanding policies may have engendered serious reliance interests that must be




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 taken into account.” Dep’t of Homeland Sec. v. Regents of the Univ. of California, 591

 U.S. 1, 30 (2020). The States had no reason to expect that the already-allocated grant

 money would suddenly be terminated, and they relied on this funding to support their

 public health programs and initiatives. Of course, agencies “are free to change their

 existing policies,” but they must “provide a reasoned explanation for the change,”

 “display awareness that [they are] changing position,” and consider “serious reliance

 interests.” Encino Motorcars, LLC v. Navarro, 579 U.S. 211, 221–22 (cleaned up).

 The termination notices provided to the States on March 24 and 25 failed to provide

 a reasoned explanation for the sudden change in its position or consider the States’

 reliance interests, which are substantial under the circumstances.

       The States have thus demonstrated a strong likelihood of success on their

 claim that these terminations were arbitrary and capricious in violation of the APA.

                                  Irreparable Harm

       The States have also demonstrated that they stand to suffer irreparable harm

 absent the issuance of a TRO. The States submitted numerous examples of the

 irreparable harm they stand to suffer without judicial action. First, the terminations

 were effective immediately, causing chaos and uncertainty for the funding of public

 health initiatives in the States. For instance, the State of Minnesota has laid off

 approximately 200 workers in the immediate aftermath, representing 12% of the

 Minnesota Department of Health’s current workforce, and up to 700 more have been

 given notice that their jobs were in danger. (ECF No. 4-24 ¶ 41.) In Delaware, the

 termination of a community health worker grant will end support for at least thirty-




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 three community health worker “positions across six organizations, including

 federally qualified health centers and community-based organizations.” (ECF No. 4-

 14 ¶ 25.)

       Second, at this point, the record is clear that without continued funding, there

 is a significant threat to public health and safety. “Threats to public health and safety

 constitute irreparable harm that will support an injunction.”            Cigar Masters

 Providence, Inc. v. Omni Rhode Island, LLC, No. CV 16-471-WES, 2017 WL 4081899,

 at *14 (D.R.I. 2017). Without the necessary funding, the States face a significant

 threat to public health, including the spread of infectious diseases, substance abuse

 prevention efforts, and access to mental health treatment.          Some examples to

 consider:

             x   In Minnesota, the funding was being used to address “gaps in infection

                 control practices, training, and resources, identified during the COVID-

                 19 pandemic as a major concern of the operators of long-term care

                 facilities serving older adults.” (ECF No. 4-24 ¶ 48.) Because of the

                 termination, the Minnesota Department of Health had to cancel grants

                 that would have provided infection prevention and control training to

                 more than sixty skilled nursing facilities across the state, potentially

                 exposing over 3,000 long-term care residents to a greater risk of

                 infection. Id. Likewise, the terminations forced the cancellation of

                 infection prevention and control training programs for 150 nursing and




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              assisted living facilities, “potentially impacting 7,000 long-term care

              residents.” Id.

          x   In Connecticut, the termination of the Department of Mental Health and

              Addiction Services’ SAMHSA grants will eliminate “housing and

              employment supports, regional suicide advisory boards, harm reduction,

              perinatal screening, early-stage treatments, and increased access to

              medication assisted treatment.” (ECF No. 4-12 ¶¶ 16, 29.)

          x   In Illinois, the termination of mental health block grants means that

              providers will be unable to provide services through the state’s “mobile

              crisis response units that assist people at risk of suicide.” (ECF No. 4-

              17 ¶ 16.) And without that funding, “providers will simply be unable to

              help people in suicidal crisis.” Id.

          x   In New Mexico, the terminated mental health care block grants will cut

              funding to fifty-four providers who treat over 64,000 people for critical

              behavioral and mental health services. (ECF No. 4-28 ¶ 14.)

          x   In California, the termination of the substance use disorder prevention

              and early intervention services for youth in at least eighteen of its

              counties risk increased substance use among young people. (ECF No. 4-

              6 ¶ 61).   And without the funding, California’s Immunization and

              Vaccines for Children program will not be able to provide vaccines for

              measles, influenza, and COVID-19 to approximately 4.5 million




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                children, roughly half of California’s youth population. (ECF No. 4-3

                ¶ 17.)

            x   In Rhode Island, the loss of the Health Disparities grant will curtail

                efforts to support “community education, mitigation, and response

                efforts in the state’s hardest hit communities” including preparedness

                and response capacity to the state’s designated rural community, Block

                Island.    (ECF No. 4-38 ¶ 17(a).)   The loss of COVID-19 vaccination

                supplemental funding will impact a planned vaccination clinic for

                vulnerable populations in Rhode Island, including those living in

                nursing homes and assisted living communities. Id. ¶ 25. The loss of

                Epidemiology and Laboratory Capacity Enhancing Detection Expansion

                funds will impact the staffing of nurses, epidemiologists, and disease

                intervention specialists, and the funding of equipment and support

                software. (ECF No. 4-39 ¶¶ 31-32, 38-39.)

  All that is to say, the immediate, unilateral termination of these public health grants

  has disrupted the States’ public health systems and caused direct and irreparable

  harm to public health.

                          Balance of the Equities and Public Interest

        Finally, the Court must balance the equities and consider the public interest.

  Of course, the States have a substantial interest in the successful operation of their

  public health systems and initiatives. The States maintain that the immediate loss

  of funding will disrupt—and really, has already disrupted—their public health




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  programs and will cause—and has already caused—mass layoffs of highly trained

  employees and contractors. The balancing of the equities strongly favors the States

  because, on the record before the Court they have established a strong likelihood of

  success on the merits and preliminary relief here would serve the public’s interest.

        Practical consequences make this point clear.         If HHS is prevented from

  enforcing these terminations, it merely would have to disburse funds that Congress

  already allocated to the States. But if the Court denies the TRO, the funding that

  the States are presumably due under law would be terminated without process—an

  outcome in conflict with past congressional action and a hardship worsened by the

  fact that the States had little notice to act in anticipation of the funding terminations.

        And the fact that the States have shown a likelihood of success on the merits

  strongly suggests that a TRO would serve the public interest. On the other hand, the

  government “generally [has] no public interest in the perpetuation of unlawful agency

  action.” Planned Parenthood of N.Y.C., Inc. v. HHS, 337 F. Supp. 3d 308, 343

  (S.D.N.Y. 2018).

        The public interest further favors a TRO because, absent one, there is a

  substantial risk that the States and their citizens will face a significant disruption in

  integral, expansive, and important public health programs. And there is a strong

  public interest in curtailing HHS’ unlawful termination of congressionally allocated

  funding to public health programs, particularly in a case like this one where the only

  evidence before the Court is that the termination was done in violation of the law.




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                                          Bond

        Rule 65(c) makes clear that the Court can issue a TRO “only if the movant

  gives security in an amount that the court considers proper to pay the costs and

  damages sustained by any party found to have been wrongfully enjoined or

  restrained.” Fed. R. Civ. P. 65(c). At the April 3, 2025, hearing, HHS asked the Court

  to impose a bond equivalent to the full costs of the terminated funds—approximately

  $11,000,000,000. The Court declined. The Court does not consider that amount or

  any security “proper” for this case under Rule 65(c).

                                     CONCLUSION

        For these reasons, the Court has found that the States have established a

  strong likelihood of success on the merits, irreparable harm, and that the balance of

  equities and public interest favor the States. The Court made these findings based

  on their Motion for Temporary Restraining Order (ECF No. 4) and accompanying

  declarations attached. Therefore, for good cause shown, the Court GRANTED the

  States’ Motion for TRO (ECF No. 4) on April 3, 2025.

        To maintain the status quo until the Court may rule on the States’ forthcoming

  motion for preliminary injunction, the Court ORDERED that a TEMPORARY

  RESTRAINING ORDER is entered in this case until this Court decides the States’

  motion for a preliminary injunction. That order requires the following:

        1. During the pendency of the Temporary Restraining Order, Defendants and

           all their respective officers, agents, servants, employees, and attorneys, and

           any persons in active concert or participation with them who receive actual




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          notice of this order are hereby fully restrained from implementing or

          enforcing funding terminations that were issued to Plaintiff States,

          including their local health jurisdictions and any bona fide fiscal agents of

          Plaintiff States or their local health jurisdictions, on or after March 24,

          2025, for reasons related to the end of the COVID-19 pandemic, the “Public

          Health Terminations” as defined in Plaintiffs’ Complaint, or from issuing

          new funding terminations to Plaintiff States, their local health

          jurisdictions, and any bona fide fiscal agents of Plaintiff States or their local

          health jurisdictions, for the same or similar reasons.

       2. The Defendants shall immediately cease withholding any funds based on

          the Public Health Terminations and shall make such funds available and

          process all payments as if the Public Health Terminations had not been

          issued. The Defendants must immediately take every step necessary to

          carry out this Temporary Restraining Order, including clearing any

          administrative, operational, or technical hurdles to implementation.

       3. The Defendants’ counsel shall provide written notice of this order to all

          Defendants and agencies and their employees, and contractors by April 7,

          2025, at 5:00 p.m. EDT. The Defendants shall provide written notice to

          grantees by April 7, 2025, at 5:00 p.m. EDT.

       4. On or before April 7, 2025, at 5:00 p.m. EDT, the Restrained Defendants

          SHALL FILE on the Court’s electronic docket a Status Report documenting




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           the actions that they have taken to comply with this Order, including a copy

           of the notice and an explanation as to whom the notice was sent.

        5. For the reasons stated on the record, the Court found that a bond is not

           mandatory under these circumstances and exercises its discretion not to

           require one at this time.



  IT IS SO ORDERED.



  _________________________________
  Mary S. McElroy,
  United States District Judge


  Date: April 5, 2025




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